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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________
BROIDY CAPITAL MANAGEMENT,
LLC, et al.

                      Plaintiffs,

               v.                                   Civil Action No. 1:19-cv-00150-DLF

NICOLAS D. MUZIN, et al.,

                  Defendants.
__________________________________

    JOINT STIPULATION TO WITHDRAW SUBPOENA TO BENJAMIN WIEDER
         AND WITHDRAW MOTION TO QUASH WITHOUT PREJUDICE

       Plaintiffs Broidy Capital Management, LLC, et al. and Non-Party Benjamin Wieder

submit this Joint Stipulation to Withdraw Subpoena to Benjamin Wieder and Withdraw Motion

to Quash Without Prejudice (“Joint Stipulation”). Plaintiffs had served a Subpoena for

Documents on Mr. Wieder on April 11, 2022. Mr. Wieder moved to quash the subpoena on April

25, 2022 (DE 142). On May 4, 2022, the court issued a Minute Order staying the briefing

schedule for all pending motions, including the Motion to Quash. The Court held a hearing on

June 15, 2022, indicating the stay was lifted, and indicated that, if Plaintiffs wished to file a

response to the motion, they should follow the procedures regarding discovery disputes set forth

in the Court’s standing order by June 23, 2022.

       Plaintiffs’ counsel and counsel for Mr. Wieder conferred following the Court’s hearing.

Plaintiffs have withdrawn the Subpoena for Documents to Mr. Wieder without prejudice and

reserve the right to issue a new subpoena if they choose later in the litigation. Because the

subpoena has been withdrawn, Mr. Wieder withdraws the present Motion to Quash without
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prejudice and reserves the right to object to and move to quash any future subpoenas served on

him.

Dated: June 23, 2022                              Respectfully submitted,

                                                  HOLLAND & KNIGHT LLP

                                                  By: /s/ Christine N. Walz
                                                  Christine N. Walz, D.C. Bar #996643
                                                  31 West 52nd Street, 12th Floor
                                                  New York, NY 10019
                                                  Telephone: 212-513-3200
                                                  Christine.Walz@hklaw.com

                                                  Cynthia A. Gierhart, D.C. Bar #1027690
                                                  800 17th St. NW, Suite 1100
                                                  Washington, D.C. 20006
                                                  Telephone: 202-469-5416
                                                  Cindy.Gierhart@hklaw.com

                                                  Attorneys for Benjamin Wieder




                                                  KASOWITZ BENSON TORRES LLP

                                                  By:/s/ Andrew R. Kurland
                                                  Andrew R. Kurland (pro hac vice)
                                                  1633 Broadway
                                                  New York, New York 10019
                                                  Tel. (212) 506-3306
                                                  Fax. (212) 835-5254
                                                  AKurland@kasowitz.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Joint Stipulation to

Withdraw Subpoena to Benjamin Wieder and Motion to Quash Without Prejudice for

Documents, and accompanying Memorandum of Law, was served by ECF filing on June 23,

2022 on all counsel of record.

                                                /s/ Christine N. Walz
                                                Christine N. Walz
                                                HOLLAND & KNIGHT LLP


                                                Counsel for Non-Party Benjamin Wieder
